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                                                                            United States Bankruptcy Court
                   10                                                        Eastern District of California
                                                                                  Sacramento Division
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                          In Re:                                                                Case No.:     18-22152-B-l 1
                   13                                                                           DC No.:       DL-01
                          Caffe Ettore Incorporated, a
                   14     California corporation                                                Date:         April 17, 2018
                                                                                                Time:         2:00 PM
                                                                                                                                                 !
                   15     1 168 National Drive, Suite 10, Sacramento, CA 95834                  Judge:        Jaime
                          TIN: xx-xxx!447                                                       Courtroom:    32; Dept B
                   16                                                                           Place:        501 I Street, 6th Floor
                                                                                                              Sacramento CA 95814
                   17                                                       Debtor(s).

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                   19
                                         Declaration of Angel Woolman In Support of Motion
                   20          for Order Authorizing Payment of Employee Pre-Petition Wages & Benefits

                   21

                   22               I, Angel Woolman, hereby declare as follows:

                   23               1.   I am employed by Caffe Ettore Incorporated, a California corporation ("Debtor") as its

                   24   Controller.

                   25               2. I have personal knowledge of the matters set forth in this declaration, except as to those

                   26   matters set forth on information and belief, which I believe to be true. If called upon, I am competent

                   27   to testily as to the matters set forth in this declaration, and would testify in accordance with this

                   28   declaration.
    Dahl Law
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  Sacramento, CA
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                 1              3. Debtor filed a voluntary petition for relief under Chapter 1 1 of the Bankruptcy Code [1 1

             2       U.S.C. §101, et seq.] on April 10,2018. No trustee has been appointed in Debtor's Chapter 1 1 case, and

              3      Debtor is managing its affairs as debtor-in-possession.

             4                  4. Debtor owns and operates Ettore's Bakery & Cafe locations in Roseville and Sacramento,

              5      California, and a production facility in Sacramento, California. Debtor's businesses provide dining

              6      services, catering, sale of pastries, custom desserts and wedding cakes at retail. Debtor also supplies

              7      baked goods at wholesale to Nugget supermarket locations in Marin, Sonoma and Sacramento Counties,

                 8   as well as to other trade customers.

                 9              5.     Debtor's business operates 24 hours a day, seven days a week and Debtor employs

             10      approximately 165 employees in all facets of Debtor's business operations. Their job functions are

             11      essential to all facets of Debtor's business operations. The filing of the Chapter 11 caseonApril 10,

             12      2018, bracketed Debtor's normal payroll payment period.

             13                 6. Debtor' s next payroll is scheduled to be disbursed starting April 20, 2018, covering the period

             14      April 1 though April 15, 201 8. Debtor's gross payroll and benefits for this period will be approximately

             15      $208,125, and covers approximately 165 employees.

             16                 7. Approximately two-thirds of Debtor's next payroll, or approximately $139,000 in wages and

             17      benefits, is for wages and benefits earned pre-petition, through April 10, 2018.

             18                  8. Debtor proposes to include in its next normally scheduled payroll, the pre-petition wages and

             19      benefits to its employees. Because Debtor has approximately 1 65 employees, I project that it will have

             20      approximately $139,000.00 in accrued and unpaid pre-petition payroll obligations. All applicable

             21      payroll taxes and related benefits due to Debtor's employees will be paid concurrently with the payment

             22      of the pre-petition wages.

             23                  9. I fear that absent prompt payment of employee wages and benefits, Debtor's employees will

             24      suffer significant hardships, and may not be able to meet their on-going personal obligations. Further,

             25      as some of Debtor's employees are solely dependent on these wages for the entirety of their support,

             26      irreparable harm could occur to Debtor if these workers decided to quit due to nonpayment of their

             27      earned, but unpaid, wages. As Debtor' s business operates wholesale bakery and cafe locations, as well

             28      as providing specialized baked goods to Nugget Market locations and custom baked creations for

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                 1   customers, these employees are critical to the success of Debtor's business and their loss would hinder

             2       Debtor's ability to reorganize. In particular, the majority ofDebtor's employees are personally involved

             3       in the creation and sale of Debtor's baked goods and other food products, and possess unique skills and

             4       experience which cannot be easily replaced or substituted.

             5                  10. The pre-petition wages and benefits Debtor proposes to pay pursuant to this motion average

             6       approximately $842.50 per employee.

             7                  11. I believe the timely payment of employee wages and benefits, including the pre-petition

                 8   amounts referenced above, is necessary and desirable to Debtor's successful reorganization, and that

                 9   such payments are in the best interests of creditors and the estate.

             10                 I declare under penalty of peijury under the laws of the State of California that the foregoing is

             11      true and correct. Executed at                         fe           , California.

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             14      Dated:
                                                                                                 Angel Woolman
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